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 9                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
       BROIDY CAPITAL MANAGEMENT LLC                              Civil Case No.:
12     and ELLIOTT BROIDY
                                                                  2:18-CV-02421-JFW-(Ex)
13
             Plaintiffs,
14
                                                                  NOTICE OF MOTION AND
             v.
15                                                                MOTION TO DISMISS PURSUANT
                                                                  TO RULES 12(b)(1) AND 12(b)(2) OF
16     STATE OF QATAR, STONINGTON
                                                                  THE FEDERAL RULES OF CIVIL
       STRATEGIES LLC, NICOLAS D.
17                                                                PROCEDURE
       MUZIN, GLOBAL RISK ADVISORS
18     LLC, KEVIN CHALKER, DAVID MARK
                                                                  [Filed Concurrently with Memorandum
       POWELL, MOHAMMED BIN HAMAD
19                                                                of Points and Authorities; Request for
       BIN KHALIFA AL THANI, AHMED AL-
                                                                  Judicial Notice; Proposed Order]
20     RUMAIHI, and DOES 1-10,
21                                                                Hearing Date: July 30, 2018
             Defendants.                                          Time: 1:30 p.m.
22                                                                Courtroom: 7A
23                                                                Judge: Hon. John F. Walter
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                     NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO RULES 12(b)(1) AND 12(b)(2)
                                      OF THE FEDERAL RULES OF CIVIL PROCEDURE
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 1          TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR
 2    ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on July 30, 2018, at 1:30 p.m., 1 or as soon
 4    thereafter as may be heard in Courtroom 7A in the United States District Court for the
 5    Central District of California, located at 350 W. 1st Street, Los Angeles California,
 6    90012, Honorable John F. Walter presiding, Defendant State of Qatar will appear and
 7    move the Court for an Order dismissing this case in its entirety pursuant to Federal Rules
 8    of Civil Procedure 12(b)(1) and (2), on the basis that this Court lacks subject matter and
 9    personal jurisdiction over Qatar under the Foreign Sovereign Immunities Act. Defendant
10    State of Qatar’s Motion to Dismiss is based upon this Notice, the attached Memorandum
11    and Points of Authorities, the accompanying Request for Judicial Notice, all papers and
12    pleadings on file in this action, and on such other oral and documentary evidence as the
13    Court may receive at or before the hearing on this Motion.
14          PLEASE TAKE FURTHER NOTICE that this Motion is made following the
15    conference of counsel pursuant to Local Rule 7-3, which took place on June 20, 2018.
16    See Joint Pre-Filing Statement, Dkt. 109, filed on June 25, 2018.
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        Defendant Qatar is noticing this Motion for hearing on July 30, 2018, pursuant to
19    (1) Local Rule 6-1, requiring that motions be noticed for hearing no fewer than 28 days
      from the date of filing, and (2) Paragraph 5 of this Court’s Standing Order, stating that
20    “[n]o motion shall be noticed for hearing for more than 35 calendar days after service of
      the motion unless otherwise ordered by the Court.” The hearing date proposed herein
21    thus properly falls within the 28 to 35 day window mandated by the Local Rules, read in
      conjunction with this Court’s Standing Order, see Dkt. 17.
22
      The Court’s May 7, 2018 Order states that if any Defendant files a motion to dismiss, it
23    will be noticed for a hearing date 35 days after the filing of such motion. Dkt. 46.
      However, 35 days from the date of this filing would fall on a date on which this Court
24    does not hear motions and the following Monday, August 6, 2018, would exceed the 35-
      day maximum set forth in Paragraph 5 of the Court’s Standing Order. In the process of
25    meeting and conferring on the instant Motion, see Dkt. 109, Plaintiffs expressed their
      preference for any hearing to be held on Monday, August 6, 2018—the date of the
26    Scheduling Conference set by the Court—to avoid Lead Counsel for Plaintiffs needing to
      travel to Los Angeles twice in that short time period. Defendant Qatar is amenable to an
27    August 6, 2018 hearing date if acceptable to the Court, and the parties expect to jointly
      file a scheduling stipulation to that effect in the coming weeks for the Court’s
28    consideration.
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                     NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO RULES 12(b)(1) AND 12(b)(2)
                                      OF THE FEDERAL RULES OF CIVIL PROCEDURE
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       Dated: June 27, 2018                             Respectfully submitted,
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 3                                                      COVINGTON & BURLING LLP
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 5                                                      By: /s/ Mitchell A. Kamin
                                                             MITCHELL A. KAMIN
 6                                                           Attorneys for Defendant State of Qatar
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                    NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO RULES 12(b)(1) AND 12(b)(2)
                                     OF THE FEDERAL RULES OF CIVIL PROCEDURE
